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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

CONSENSYS SOFTWARE, INC.,                        §
                                                 §
    Plaintiff,                                   §
                                                 §
       v.                                        §
                                                 §            Case No. 4:24-cv-00369-O
SECURITIES AND EXCHANGE                          §
COMMISSION, et al.,                              §
                                                 §
    Defendants.                                  §

                                             ORDER
       In the Civil Cover Sheet filed with the Complaint, Plaintiff identified this action as related

to the action captioned, LEJILEX, et al. v. SEC, et al., 4:24-cv-00168-O. As such, the Court

ORDERS Plaintiff to confer with Defendants to discuss whether these matters should be

consolidated. Plaintiff SHALL file a notice on the docket describing the parties’ conference by no

later than May 22, 2024.

       SO ORDERED on this 15th day of May, 2024.


                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE
